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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

  MARIA SUAREZ-TORRES, ET AL.,

         Plaintiffs,
                                                 CIVIL NO. 16-1818 (PG)
                v.

  PANADERIA Y        REPOSTERIA   ESPANA,
  INC., ET AL.,

         Defendants.



                                        ORDER

     Plaintiffs Maria Suarez-Torres and Norberto Medina-Rodriguez filed
claims    for   injunctive   relief   under   Title   III   of    the   Americans   with
Disabilities Act (ADA), 42 U.S.C. § 12101 et seq.                After denying without
prejudice defendants Panaderia y Reposteria España, Inc. and Inmobiliaria
Isla Verde, Inc.’s motion for summary judgment, the court set a status
conference in this case. During the same, the defendants informed the court
of the imminent completion of some voluntary modifications being made at the
establishment in question. The court granted defendants ninety (90) days to
inform the court of the completion of these changes. See Docket No. 77.
Shortly thereafter, the plaintiffs filed a motion requesting the dismissal
of their supplemental claims and the court’s entry of judgment of the ADA
claims “on account that plaintiffs obtained the requested relief under
federal law … .” Docket No. 78. The court noted the motion and ordered that
the plaintiffs may file a motion to reopen case if the defendants failed to
comply with the above-mentioned deadline. The court proceeded to enter
judgment dismissing the state law claims with prejudice and the federal
claims without prejudice. See Dockets No. 79-80. The plaintiffs now request
that the court award them attorney fees (Docket No. 81), which the defendants
oppose (Docket No. 86).
     The ADA provides that “[i]n any action ... commenced pursuant to this
chapter, the court or agency, in its discretion, may allow the prevailing
party … a reasonable attorney’s fee … .” 42 U.S.C. § 12205. “Fee-shifting
provisions in federal civil rights statutes represent Congress’ considered
departure from the traditional rule that attorneys pay their own way in
American courts, regardless of the outcome.” Sinapi v. Rhode Island Bd. of
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Bar Examiners, No. CV 15-311-M, 2016 WL 4014587, at *2 (D.R.I. July 26, 2016)
(citing Hensley v. Eckerhart, 461 U.S. 424, 429 (1983); Alyeska Pipeline
Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 247 (1975)). “In the fee-
shifting provision of the ADA and other federal civil rights statutes,
Congress used the term ‘prevailing party’ as a ‘legal term of art,’ indicating
‘one who has been awarded some relief by a court.’” Sinapi, 2016 WL 4014587
at *3 (citing Buckhannon Bd. & Care Home, Inc. v. W. Virginia Dep’t of Health
& Human Res., 532 U.S. 598, 603 (2001)). “To qualify as a prevailing party,
a litigant must show that a material alteration of the parties' legal
relationship has taken place as a result of the litigation. … In addition,
a   party   must   demonstrate     that   the   alteration   possesses   a   ‘judicial
imprimatur.’” Hutchinson ex rel. Julien v. Patrick, 636 F.3d 1, 8–9 (1st Cir.
2011)    (citations    omitted).   “The   Buckhannon   Court   identified    only   two
situations in which this judicial imprimatur requirement would necessarily
be satisfied: where the plaintiff ‘received a judgment on the merits’ or
where she ‘obtained a court-ordered consent decree.’” Hutchinson, 636 F.3d
at 9 (citing Buckhannon, 532 U.S. at 605). Nevertheless, the analysis must
focus on substance, not form, and the inquiry must look to three factors:
(1) whether the change in the legal relationship between the parties was
court-ordered; (2) whether there was judicial approval of the relief vis-à-
vis the merits of the case; and, (3) whether there exists continuing judicial
oversight and ability to enforce the obligations imposed on the parties.
Hutchinson, 636 F.3d at 9.
        None of these factors exists here. The court certainly did not address
the merits of the plaintiffs’ ADA claim nor approved and adopted a consent
decree reached by the parties. As previously stated, the court simply noted
the plaintiffs’ satisfaction with the defendants’ voluntary modifications to
the building and proceeded to enter judgment as requested, even allowing the
plaintiffs the option to reopen their case for this court’s review if the
changes were not completed within ninety (90) days.          The court did not place
itself in a position to enforce the terms of any settlement agreement or to
compel the defendant to make any alterations to its place of business.
        The fact that the plaintiffs may have obtained their claim’s intended
objective is irrelevant. It is important to note that the Buckhannon Court
“expressly rejected the ‘catalyst theory,’ which posits that a plaintiff is
a ‘prevailing party’ if it achieves the desired result because the lawsuit
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brought about a voluntary change in the defendant’s conduct.” Smith v.
Fitchburg Pub. Sch., 401 F.3d 16, 22–23 (1st Cir. 2005) (rejecting prevailing
party status to plaintiff that did not obtain a final judgment on the merits
or an incorporation of the private settlement into a consent decree, thereby
failing to satisfy a narrow reading of Buckhannon). “A defendant’s voluntary
change in conduct, although perhaps accomplishing what the plaintiff sought
to achieve by the lawsuit, lacks the necessary judicial imprimatur on the
change.” Buckhannon, 532 U.S. at 605.
      Pursuant to the foregoing, the court finds that the order of dismissal
and judgment entered in the above-captioned case are unaccompanied by the
required judicial imprimatur. 1 As a result, the plaintiffs are not prevailing
parties as defined by the applicable law. The court thus DENIES their request
for attorney fees (Docket No. 81).

      IT IS SO ORDERED.
      In San Juan, Puerto Rico, June 4, 2018.


                                                     S/ JUAN M. PÉREZ-GIMÉNEZ
                                                     JUAN M. PEREZ-GIMENEZ
                                                     SENIOR U.S. DISTRICT JUDGE




1 The situation here is more akin to a private settlement. However, “[p]rivate settlements do

not entail the judicial approval and oversight involved in consent decrees. And federal
jurisdiction to enforce a private contractual settlement will often be lacking unless the
terms of the agreement are incorporated into the order of dismissal.” Buckhannon, 532 U.S. at
604.
